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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
            vs.                     )                                  Case No. 11-40078-03-JAR
                                    )
JAMAICA L. CHISM,                   )
                                    )
                  Defendant.        )
____________________________________)

                                     MEMORANDUM AND ORDER

          Defendant Jamaica Chism pled guilty to one count of accessory after the fact, in violation

of 18 U.S.C. § 1512(a)(1)(C).1 Defendant was sentenced on October 6, 2014, to eighty-four

months’ imprisonment, as jointly recommended by the government and defense counsel, per the

binding Plea Agreement.2 Defendant did not file a direct appeal. On April 25, 2016, Defendant

mailed a letter to the district court, asking the Court to reconsider her sentence in light of her

acceptance of responsibility for her actions, her steps to improve herself while incarcerated, her

diagnosis of and treatment for PTSD and bipolar disorder, and her need to care for her children

and family (Doc. 770). In view of defendant’s pro se status, the Court construes her letter as a

motion for reduction of sentence under 18 U.S.C. § 3582(c).3 As explained below, the motion is

denied.


          1
           Doc. 260
          2
           Id.; Doc. 662.
          3
          District courts may not recharacterize a pro se litigant’s post-conviction motion as a 28 U.S.C. § 2255
motion unless the court first warns the pro se litigant about the consequences of the recharacterization, thereby
giving the litigant an opportunity to contest the recharacterization, or to withdraw or amend the motion. United
States v. Martin, 357 F.3d 1198, 1199-1200 (10th Cir. 2004) (citing Castro v. United States, 540 U.S. 375 (2003)).
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        Defendant asks the Court to reconsider and reduce her sentence upon consideration of her

failure to speak up at the sentencing hearing. “A district court does not have inherent authority

to modify a previously imposed sentence; it may do so only pursuant to statutory authorization.”4

As the Tenth Circuit explained:

                 A district court is authorized to modify a Defendant’s sentence
                 only in specified instances where Congress has expressly granted
                 the court jurisdiction to do so. Section 3582(c) of Title 18 of the
                 United States Code provides three avenues through which the
                 court may “modify a term of imprisonment once it has been
                 imposed.” A court may modify a sentence: (1) in certain
                 circumstances “upon motion of the Director of the Bureau of
                 Prisons”; (2) “to the extent otherwise expressly permitted by
                 statute or by Rule 35 of the Federal Rules of Criminal Procedure”;
                 or (3) “upon motion of the defendant or the Director of the Bureau
                 of Prisons,” or on the court’s own motion in cases where the
                 applicable sentencing range “has subsequently been lowered by the
                 Sentencing Commission.”5

If the defendant’s argued basis does not fall within one of these three limited avenues under

§ 3582(c), the Court is without jurisdiction to consider the defendant’s request.6 None of the

avenues set forth above apply to this case. Although the Court commends Defendant for her

rehabilitative efforts since her conviction, and extends its sympathy for the issues her children

and mother are going through because of her incarceration, it simply does not have the power to

reduce Defendant’s sentence. Defendant’s motion must be denied.

        IT IS THEREFORE ORDERED BY THE COURT that Defendant’s motion for



        4
         United States v. Mendoza, 118 F.3d 707, 709 (10th Cir. 1997).
        5
         United States v. Blackwell, 81 F.3d 945, 947-48 (10th Cir. 1996) (citations and footnote omitted).
Congress twice amended 18 U.S.C. § 3582, in 1996 and 2004; neither of these amendments substantively affects the
Tenth Circuit’s analysis.
        6
         United States v. Smartt, 129 F.3d 539, 541 (10th Cir. 1997).

                                                         2
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reduction of sentence (Doc. 770) is DENIED.

       IT IS SO ORDERED.

Dated: May 17, 2016

                                                   S/ Julie A. Robinson
                                                  JULIE A. ROBINSON
                                                  UNITED STATES DISTRICT JUDGE




                                              3
